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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In Re Flint Water Cases,                           No. 5:16-cv-10444-JEL-MKM
                                                   (consolidated)

                                                   Hon. Judith E. Levy

                                                   Mag. Mona K. Majzoub


Walters, et al.,                                   No. 5:17-cv-10164-JEL-MKM
              Plaintiffs,
v.
City of Flint, et al.,
              Defendants.


LeeAnne Walters, as Next Friend for Two            No.
Minor Children, G.W.1 and G.W.2, et al.,
              Plaintiffs,
v.
J.P. Morgan Chase & Co.; Wells Fargo Bank,
National Association; and Stifel, Nicolaus, and
Company, Incorporated,
              Defendants.


             PLAINTIFFS’ MASTER SHORT FORM COMPLAINT
                          AND JURY DEMAND

       Plaintiff(s) incorporate by reference Plaintiffs’ Proposed Amended Master

Long Form Complaint and Jury Demand (“Master Complaint”) filed in In Re Flint

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Water Cases in the United States District Court for the Eastern District of

Michigan, filed as No. 185 on the Master Docket. Pursuant to the Court’s Order

permitting Plaintiffs to file a Master Complaint for the Individual Flint Water

Cases, the following Short Form Complaint encompasses Plaintiff(s)’ claims as

adopted from the Master Long Form Complaint in the above-captioned action.

      Plaintiff(s) select and indicate by checking boxes where requested, parties

and claims specific to this case. As necessary, Plaintiff(s) include: (a) additional

claims against the Defendant(s) listed in paragraph 1, which are set forth in

paragraph 10, and the supporting facts for which are alleged in paragraph 12 or on

an additional sheet attached to this Short Form Complaint; and/or (b) claims plead

against additional defendants not listed in the Master Long Form Complaint, which

are set forth in paragraph 13 and the supporting facts for which are alleged in

paragraph 14 or on an additional sheet attached to this Short Form Complaint.

      Plaintiffs, by and through their counsel, allege as follows:

I.    DEFENDANTS

      1.     Plaintiff(s) name the following Defendants in this action [check only

those that apply]:

      ☐      Governor Richard D. Snyder
      ☐      The City of Flint, a municipal corporation
      ☐      Darnell Earley
      ☐      Howard Croft
      ☐      Michael Glasgow

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      ☐      Gerald Ambrose
      ☐      Jeff Wright
      ☐      Dayne Walling
      ☐      Daugherty Johnson
      ☐      Liane Shekter-Smith
      ☐      Daniel Wyant
      ☐      Stephen Busch
      ☐      Patrick Cook
      ☐      Michael Prysby
      ☐      Bradley Wurfel
      ☐      Nick Lyon
      ☐      Adam Rosenthal
      ☐      Andy Dillon
      ☐      Lockwood Andrews & Newnam, P.C.
      ☐      Lockwood Andrews & Newnam, Inc.
      ☐      Leo A. Daly Company
      ☐      Rowe Professional Services Company, f/k/a Rowe Engineering, Inc.
      ☐      Veolia LLC
      ☐      Veolia Inc.
      ☐      Veolia Water, LLC
      ☐      Veolia Environmental, S.A.

      ******
      SEE ATTACHED FOR DEFENDANTS PREVIOUSLY NOT NAMED
      IN MASTER LONG FORM COMPLAINT (NEW DEFENDANTS):

             (a)    J.P. MORGAN CHASE & CO.;
             (b)    WELLS FARGO BANK NATIONAL ASSOCIATION
             (c)    STIFEL, NICOLAUS & COMPANY, INCORPORATED

      2.     The above-named defendant(s) are sued in those capacities outlined in

the Master Complaint and Short Form Complaint attached hereto. They are named

jointly and severally.



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II.    PLAINTIFFS

       3.    Plaintiff(s): See Exhibit “A”

       4.    If brought on behalf of Plaintiff by another person, capacity (i.e.,

administrator, executor, guardian, conservator, etc.):     See Exhibit “A”

       5.    Plaintiff’s State of Residence:               MICHIGAN

III.   FLINT WATER EXPOSURE

       6.    (If alleging personal injury) Plaintiff(s) lived in Flint, Michigan from

approximately Birth until Present. If more than one Plaintiff is named on this Short

Form Complaint, list each additional Plaintiff’s period of residency in Flint on an

additional sheet, or check the box below if the period of residency is the same for

all named Plaintiffs.

       ☒     Period of Residency in Flint is the same for all named Plaintiffs.

       7.    (If alleging property damage) Plaintiff(s) owned property in Flint,

Michigan from approximately N/A. If Plaintiff(s) owned more than one property in

Flint, list each additional property, as well as the dates the property was owned, on

an additional sheet. For each property, state which plaintiff owned which property.

       8.    (If alleging economic loss) Plaintiff(s) owned a business in Flint,

Michigan from approximately N/A until N/A at the following address: N/A. If

Plaintiff(s) owned more than one business in Flint, list each additional business, as

well as the dates the business was owned, on an additional sheet.

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IV.   INJURIES

      9.     Plaintiff(s) allege(s) the following injury(ies) (and subcategory of

injur(ies) as a result of use of and/or exposure to Flint River Water:

      ☒      Personal injury
             ☒     Lead Poisoning
             ☐     Legionella
             ☐     Other (please specify below or on additional sheet)

Plaintiffs suffered, inter alia, cognitive deficits as a result of exposure to lead.


      ☐      Property damage
      ☐      Economic loss
      ☒      Emotional damage

V.    CLAIMS/COUNTS

      10.    The following claim(s) asserted in the Master Long Form Complaint,

and the allegations with regard thereto in the Master Long Form Complaint, are

adopted in this Short Form Complaint by reference:

      ☐      Count I: 42 U.S.C. §1983 – 14th Amendment, Substantive Due
             Process – State Created Danger
      ☒      Count II: 42 U.S.C. §1983 – 14th Amendment, Substantive Due
             Process – Bodily Integrity
      *****
      Count II and the facts pled in the Master Long Form Complaint
      associated therewith are adopted as to the newly named Defendants as
      more fully pled in Exhibit B.

      ☐      Count III: 42 U.S.C. §1983 – 5th and 14th Amendments, Equal
             Protection of the Law – Race Based


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    ☐     Count IV: 42 U.S.C. §1983 – 5th and 14th Amendments, Equal
          Protection of the Law – Wealth Based
    ☐     Count V: 42 U.S.C. §1985(3) – Invidious Racial Animus
    ☐     Count VI: MCL 37.2302 – Violation of Public Service Provisions of
          ELCRA
    ☐     Count VII: Gross Negligence
    ☒     Count VIII: Punitive Damages
    *****
    This Count and the facts pled in the Master Long Form Complaint
    associated therewith are adopted as to the newly named Defendants as
    more fully pled in Exhibit B.

    ☐     Count IX: Professional Negligence (LAN PC, LAN Inc. and LAD)
    ☐     Count X: Professional Negligence (Rowe)
    ☐     Count XI: Professional Negligence (Veolia LLC, Veolia Inc., Veolia
          Water and Veolia S.A.)
    ☐     Count XII: Fraud (Veolia LLC, Veolia Inc., Veolia Water and Veolia
          S.A.) If alleging fraud, state with specificity the allegations supporting
          the cause of action (use an additional sheet if necessary):




    ☐     Count XIII: Others [Specify Below]




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See Exhibit “B”




      11.   Unless otherwise noted, the above-checked Claims/Counts are only

applicable to those Defendants against whom each Claim/Count referenced in the

Master Long Form Complaint applies to therein.

      12.   If additional claims against the Defendants identified in the Master

Long Form Complaint are alleged in paragraph 10, the facts supporting these

allegations must be pleaded. Plaintiff asserts the following factual allegations

against the Defendants identified in the Master Long Form Complaint:




      13.   Plaintiffs assert the following additional claims and factual allegations

against other Defendants (must name defendant and its alleged citizenship):


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See Exhibit “B”




      14.    If additional Defendants are identified in paragraph 13, the facts

supporting these allegations must be pleaded. Plaintiff asserts the following factual

allegations against the Defendants identified paragraph 13:

See Exhibit “B”




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      WHEREFORE, Plaintiffs pray for relief as set forth in the Plaintiffs’

Master Long Form Complaint in In Re Flint Water Cases in the United States

District Court for the Eastern District of Michigan.



Dated:       October 7, 2020                           /s/ COREY M. STERN
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